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                                                                                       1111111111111111 1111 111111
                                            2 1 1 0 6 1 3 0 3 7 6 1g Jjf
                  *~*t~~*~~~~~~~~~-
                                                     106if-)i 1~ i l 1035!t                                    *
                                                      106-{f-li.1~ i4520!t                                      *
                                                      106if-)i 1~ i 5612~t                                      *
                                                      106-{f-)i 1~ 11; 56 l 3!t                                 *
                        % 1aJ ~ ~ ~ 41 ~ C ~ ~ 64-{f--11 A 5 s ±. )
                                  11. :i: t rr ~ ~ ~ 1uJ Ji i!f l 29!t
                                  % :I: 1W rp #Jr rp ~ *- JJl]t 7' ~ 6We,
                                  ~ R.~'.5t-Wi-f:ft-f:Jidt: B121163317!t
                          il! 1£ ~ ti A.                 J 11 ~ it tip
                          ~t              %              .:£ 7]( ~ JJ           42~ C ~ ~ 63-{f--10 A 25 El ±. )
                                                                                            m           m
                                                                          11. ~ t rr ~ ~ .5(_,~ li..~1~1.201 We.
. ,,
,, ' o                                                                        ll{i.z.9
                                                                          ~ R.~ '.5t"Wi-fa.Jt.-f::dt: B121352878!t
.
•


~
             p
             ,.
    .,; ·:·&)CJ
                          il! 1£ fij ti A.               Jl± :kf :tit tip
                                                         f~ -tg Z it tip C1o6 -{f-2 A 7 s ~ J.I:. ~ 1:£- ijru 1~ )
                          ~t              %              ~ ~k         JJ 53~ ( R. ~ 52-{f- 9 A 19 s ± )
                                                                     11. :I: mrp #Jr rp ~ :k_;11Jt -l:: ~50!t8~
                                                                      % :I: 1W rp #Jr rp ~ :k_J11Jt .=-~6!t8itz.5
                                                                          ~ R.~ ~~fa.ft-f:~!t : Hl21305464!t
                          il! 1£ 'ij ti A.               f~ -tg Z it gip
                                                         ; .~- :J@.   *   tip
                                                         t J *~it tip C106-{f-6 A 19 s #-- J.I:. ~1:E- nM 1~ )
                                                          1


                         1t               %              lfti .f 'ft -f ~ rn'" 1f rll ~ 6J
                                                                          't~ #Jy ft   rr fJ .ft-=-~ 3~
                                                                      fa.ft- t.~ !t : 47217677Wc.
                          1t      ~        A.            ~# la- Jtt {l l6J ..t.
                          ~ 1£ ~ ti. A.                  ; .~- :J@. # trp
                                                         ~ ~ ;t. it trp
                                                                                              ~ I.if< JJ:. *
                  J:.. 7h 111l5l
                             ',,l. _cl:.
                                  fr.le  r.A
                                           ,,#.   ,;:;   ._t-l- ~ .1-•I, R ,'.}_ 1::/f 4i=-14                1.-:1;, ~1] it,;; ~-r. ~
                                    o ~ ~ 1-t.. 1;,,..__ 1g' ~ '1~ J5:; n:;; ~ m T ' ~ f,;c_ '17'1. ~ ;.:, J:o ' ;;,~ 1,•t ;;~ ~
                                                                                                         J.~




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~0~,tt~~n•~&-·ftM~**~~~T:
     1E.* . . .
-,M~~,i~a~Ahl~t~#~i•oo~~+*~I~~
   ~~4 -rl369 iJt~Jla't-=f-JJf10"1fNl0§] (T1i1rtJla0§J) Z
   ~ .::r:. ~ la 0 §] 1i re El -*" E1pi da Memo ry , Inc ( T 1i El -*" pffi
               0
                                                                                                                                            ,.
  ~~0§J)~~~hA#ft~~1f~0a1~•a~z0aJ,
  '1ft:, th ~ fiiAl -tt- Jf{ te. ·ti ft ( T 1i DRAM) a\ 00 z _f • 1\ .::c. ~                                  0




   ~Micron Technology, Inc (T1i~~~Jt0§J) ttt~"t~;(f.
   ~~~~~ffl~~&*,~~••A•~~--w~,
  NAND f 1ash.&.NOR f 1ash te. ,t;t ft;.l £ , tJ. & :it~ ~¥-i~ "1i" ~ ~
   .f ~ tt t jft. , ~ ~ ~ 102 lJ:. M~t ~I El -*- ij ~ ~ 0 aJ , ~ ls 0
   a]     z%t.tJJf;rli ' 73 ~f El* firo ~ ~ 0 a)~~ A Micron Memory
  J apan ' ft ~f 1it ls 0 a) ~ ~ A ~ ~!t ~ 7t te. ·t! ft }Jf 15i 1f Hl 0 a) '·                                               0




    ( T ~i ~Ji·~ 7t 0 aJ ) , 1iiJ~~ , .£ 7j(_.i£ rtsl iJ:l:.pj. A~ ~ :1t ..
   0 aJ z • .::r:. ~ ~ ~ 7t 0 aJ w~ 100 lJ:. 9 A 2 El , ~f ,I ~ ti ..
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                                                                                                        i'                  C',i. 0-




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                                                                                                                                            ,.   J




   0 a) ?Jr 1f z ~t=Y ~ jlf ;.l ;rl{ ~.tl Mr#Jr j;a i,t ~ Jt ~ a] (Micron
  Semiconductor Asia) 1l ffl ' ifiJ ~ li ~ Jt 0 aJ ft~:lrk
  w~AOOz"1i"*'ft~,••,a~••m,ftm~~,~
     Eb        t&! - fr/'< -c- .'-k $.. 'I i 3'.l=l /.~      ..\-: :/,. 4-+ ~k         '' 'I W -r~ I, I::!/,~-.\:
     'JIJt '   1.!2.1 7F ~ /J ~ J - j.:A .,c,~ >.JL 1~    ' /JX.   .r."'J ;;/if"., f ' 3E J;A ~ ~ ~G ;J,;J(, /J .:,;."

     ~#4~1f~•.&.*M#Jf{~~z«a~aa:~~~:1t0
     a)·.::L~A«B~RB#Jf{i~«-~•,~-A~~&-
     k,~ , lL ~ 105 lJ:.4 A 20 El ~ &p ~ 1-f 1l ffl USB PORT ( i!.fi « JJ~

     ~~~~#a•z-a~o)~H-tt-*'i~«•~•ffl~
     • a ;JI=- - ,igt ~, & ti iJt • m z .A.. ?Jr *o ' ~ ;Jr ~ Iii~~ 1J 1.t ' 1f
     ~~z~-tt~,$,l*•~•*J2•ffl•z••~-o
                           A 28 a~ Jk@ Jk 7t 1~ §J -ii-11 -t i1i-A
     f; 5!i ~ Jt/~ aJ ~ 103 .if-2
     MTI/MMT Design Engineering Services Agreementz~i~
      ,~.~~~~~~#4MMrtsl1~ffl]f{~z~AMA•C
     ~~·-~-)#.-tlk•lk~0~,ft~~Elft~M~~
     A~0§Jztt#ifn~~ffll~~~~~0aJz~AMJ.1•                                                                            0




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                        ~,m•t~~~~~0~(T.fflt0~)•*~J-~~*
                          ~ tt t ~ ( IC ) a a fE l- l" 1\ .:r.. JJ!i :f} a!J /A'" ~ , -f I~ t 1ft l= DRAM
                                                   0



                             z~~.&.M~'~*~•w~t•~••,~~l&~Afl
                                               *
                             ti :MI .f. ti 0 ~ 1t.. t~ ri A .f_ 1O5 !rf- 1 A M , lftt t 0 ~ iJf~ J
                                                                O




                             ~k~~~~~~=••~t~~~0~CT•;•0~)
                                                                    *
                             i~t{ , ~ ~ t~ t! i!1t32-* DRAM.&.32S -* * DRAMi:El
                             •~•,w;•0~~*3~~ic.W~~•~•a~,~*
                                                                                            fl.&    n~.
                             ~•i!&~M~#-t0ij4~~fc,~•~*w~~#~
                             i$. ~ ' 1l tt ft 1i~t 1c. ~ 11 Wf-*' ff .f_ ; • 0 ~ i! 1t 32-* * DRAM.&.
                             32S **DRAMzi;f lfttt0~ ·~tAtR~ 1Ji;Ji1,itf%1t• , ~
                                                            O




                             105 .ff:-1 A M-t£ ~ iw rr ;ff* IE ~Fab12A1it ~~ ~ pq ~ sr. 1 #Jj-
                             l= "t 1f Jl tJ:1,~ J (New Business Developmnt 'T;fiNBD )
                               , wf~Lil. Jf ( &- ~ 51f ~ it 0 ~ ~ l= -& , ~ 104 !rf-7 A 31 8 ~
.
"
(,, <· .•, ...., u
                   ""        ~ , 3i~ 104 !rf-9 A Mtt1::1:- lfgp t /A'"~ j- i*- i 1Jt.t j&l.f ,        *
                                                                                                     5(_ M
                             ~Stephen ) ~ -l:±.¥t-, At~NBD T~sr.l-.ft1#-bt (T
                             •™1) ,-t-~ft-~A(T.™2).&.l-•tt•~bt(T
!;.< <1 ,,,,.   ., r.        ;f,i-PM3 ) f. %~ ri , fi ~ 4'~ .J.&- -f± ~ 5i ~ it 0 ~ 1£ ~ z 1aJ ~ ~
                               , ..£ 7](~ f. A , Ji re~~ ~t,i1:E-PM2 %~ ri z t~ l.f PM2 Ttt
•.)

                                                                                                O




                              ~ *1. ~ % - %~ ( T ;fi PI 1 ) , ~;fl.~%~%~ ( T ;f,i-PI 2 ) ,
                                      *ff
                             AA f8-$} ff l.f %~ ( T ;fiDM) & ic 1t %~ ( T ;fiDev ice)                Jf9p t
                                                                                                       0




                              0 ~ ~ 105 · ~3 A 11 a foJ i&~t~tt j- ~ t!~ l t- tp ttti uf ~tl
                             1K ;J.t 1,itf % 1'F ~ , !& ti t- ~ 10 5 .ff:-4 A 12 a i:i. t& ~ ~ ~ 1f; 10 50
                             0055030 !Jt Jsi ,l 1t Jf~p t 0 ij ' ; • 0 ij .&. 8 '*-Ultra
                                                       O




                             Memoryinc. (T;f,i-8-*"UMI 0~) f-~~ '41~105 iJ:-llA
                             8 EJ Jf-ir 1 F32 *"*-ttttJJ~•ttfhtl (F32nm Design Service
                             Agreement ) , J ' t.0 ;t ~~ ~~P 't 0 ~ faff -;fi1J;t~DRAM~ it Jl Jl1J(
                              *5(.~;fi: Design Rule , Layout Rule , w~..f~tt~;fI.
                              & 1,#1i - ri l- -t , ~ iR X:ti ~it a!J -ii 1,# , z.. Bi ~ 111~ M~~ti
                              ~~-~*~~·'&-i±~-~~;1£~~~~~-~ili*
                              ~,s~-*~€~A~~ttt~-~~)#M~•A~~
                                                                          3
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      ,~xa*~r0~~tta~1*~,&ff,~fftt~&A
     J4 -tttt ~ 11 , j,~~378 ~ 3, ooo~ ic.z-tttt JJ!Lt! t m.t~ re%
     •0~~3M~#~8~~I0~,a~~I0~~~~~
         3t x 1tGDS ( TVO &TVl ) it~ &TVl ~ J4 DDR4.fi. ' *;j~ !l
                                                   *
         itt32/32S-* *DRAMr1r, 1t.tt.-Wr 5t. % 0 ~ ~4tDRAM~ £ ;_ jf_                  0




         **«0~z~AAM~~,£*"'~-~A~fftt~~
         • ~ , i; A .ft MIJeAt
                                                                          *
                                   0




..=:.. , 1iiT~~~ 103 lf=-2 A 24 s -if.~ tit~ 7'60 ~ 1£~ et W J7. r lft
         -%~Jar~-&~AM~%~J ,~-Ji~~~M~~-
         ~~~7'60~z--g~~k*'M~~-~~*•;Jif~~
         ttz•~•~c~~*·~-)z~#,~-,-~*~Jt
         ~~#~•••~z~£1~0~,~#Jt~*~~~*&
         «-f--Ji ~1*-#z t-1a ; %=-1iiJ~~-if.qp ~lit~ 7'60 ~ zffe!~ AJ:.
                                                                                           ,,
         #;Jif--j-~,4M~·--·~~~,3tM~~MJt•;Jif                                               (•

                                                                                           t, C. ,;;. (1 ~--
                                                                                                              (:




     ~~ttz~* 0 M~~~-~~~~~0~iA*%~-~                                                         •,,
                                                                                           {,~




     ~ f} , W1t- At~ 0 ~ ;fir If °*1 z 1: ~~H~ JJ!i ~ , 1l 1Pl ~ DRAM fA.¥.
     ;Jifg,A~A~A7'60~*•~•z«-~¥(T~A~-
                                                                 *
     jiif) ' .3i~ ~ ~ §l G rJT ;fir zFil~ ~ ( l:?p 11ft 7' P.t4bJ Jf 4h £
                                                                                           (.l   'b   e, " "' ~ -
                                                                                                              (_,
                                                                                                              ,,.•

     ~ ~t36rJT iF 4h £) ' 1i Ait.~ ( l:?p 11ft ;tz -f= .PlT iF 4h £) ' J-~ 1¥--

     1~    *~ *tt    ~        1Pl A# ;Jif A~ A~ 0 ~
                               I                              *• ~- ~* •     z
             *
     ,1;4 ( l:?p Ftt 7' P.t 4bJ 4 4bJ £ iAh 1t 35z !$J Jt 2 , 3 , 4 , 5 , 6, 7 , 8, 10 ,
     11, 12,13,14~!.\*l"*4&tAhMtl5t",1;4*-r\J;g AECD-DPB-1076
       , ECD-DPB-llllz~1i, T-f~B i!.\'*-=f;J'4) · lffl~~l04 lJ=-100




      A 15 a , 1iiT ~ ~ §l ~ ;!f A ~ 1t)- ~ ~tr~ , ·Ht- Jt 3t *-1-K .~~, J:. rJJ %
      ~t r\J Z. itf ~t Jt ?Jr ;J:} ;fir zA 1: ~ #.i if- &B ii.\'*- =t ;J'4 , 1l ~ 104
     if.-11 A M ~ lf~ it 0 §J 1:E-~ , ~ 105 if.-4 Jj Mt!1:E-PM2 ~~ r             r,
     zPI 1 ft.,.¥_l.f. 1iiJ ~~~ 105 lf=-1 A M , ~ ~o ~ lf~i t 0 ~ Ml~
                      0




     ~~iM.tt.•%~-,~A~~~~0~ztt•#+'~§l
      Gffl#;JifzA«~~¥&B~*•#,;JifM~•«0§J&g
     *   It} aJ -if. k fi .t~ ~ i ~ DRAM la 00 , i; ;t I -1± k fi .t~ ~ 1~ ma

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                  ;fl*~ ~ ~ 3t 0 ~ z t 1J ~ , E! 105 il=-1 A R-106 iJ=- 2 J=J 7 a
                                                rr
                  E!p it- f!- t~ t%J ~ foj #Jr :ft. t%J ~ ~ ~JtA-r ;ft ~ z a JI:. , ~ ~ -!llt1 ~ ,
                  M~A«-~-&B~*•#·~~-~~~~,c~~~~
                  ;ft 111 ~ M: 1R. m1~ * w1tt z ii oo , 4 :l rw rr #Jr rr i& *- J1j ~ n. 63     1


                  Jt 657 1: t!p lftp it 0 ~ -nr ir , :1 rw rr #Jr rr i& rw ~+ ~ lij.. 57Jt z lftp
                  f. 0 g_j Fa b 12A/i& i ..::.. Ji& I& PM2 M 0 i: , 1-A Jf9p it 0 g_j FlT rlic.1t 3E
                  t.; Ar-~ USB PORT ,f °*1 z 0 Jfl            *
                                                              tc. ~ it~~ ( E?p f1t :f:<:. ~ 1~ 4bJ ,1f. 4bJ
                  J'o #~ Wt'. 34 FIT iG #J J'o ) tt 1pt. A it - jc., ii , JL ~{f B ~!.\ *- i" *-4 ~ t,jt-
                  R. PI 1 fh¥ 0 i: ~ 1l )fl      0




             ~,£*~4~~~3t0~-~~•z•~~~fi•~~~,
               ~-~-~~0g_jffl~~£~~~j-#,~•mDAAM~OO~
¢

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        <)

       ..,
               J'o+f%~P -l->R~1!lA%&J'o f ' .Jt.~105 i!=-1 , 2 AM ' /,fil_
        ..
    .·, ,
               re LINE:i! 1fL.$k tt , ~ i:; ,.ff_ lf9p it 0 ~ r #Jr* t" 1tJi tl7 ·~ J 1x•
                  .z.M~M:••,~~-it0~~~:f.0~%~~•w~~
                  "$ ' 't .t- ·ti ~-f j(, 14 ( de v i ce ) z A. ;t ' ~ ~ il! - ~ :ft f4JJ ii. '
                  £*~*;t#·R--it0~,ft~~M~M:~#~M*~•
                  it It} g_) £ 7)( ~ I§ ~I:.~ 10 5 ij:- 2 A ~ ' ~~ 1i. lf9p it 0 ~ :ft ~ t~
                                                                                                           j'
                             0




                                                     *
                  0 ~ A. j- ~~ ri 3:.. ,f ~ ~ ~ z tiJ t~ ' ti ;ti~ i" 1t ~ ~I:. ~?, ~
                  ~Jt0~·~a~~a:k.~~1&1~,'t~~••0~•~
                   , ~j)µ.. ~ jr ~ ~ ;~~ 105 iJ:-3 A 25 a , £ 7](~ ~tf1Jlftp it 0
                                           0




                  g_j FIT~ i!ziilpli!~o :t (Offer Letter) , ~i!~LINE:i! tit
                  ~-%~M~M:~•,M~~§~MI*~~~-it0g_Jz
                  Ill~~~ ' ~ ~ i!~LINE:i!1R. ..ktt~£ 7](~ 1tttlf9p t It}~~
                  1fDAAMFIT ~ f1J z ti. 11itj- r.,, ~ I 7)( ~ ~ 105 il=-4 J=J 5 8 foJ ~ ~
                                                          0




                  ~,c0~i.'ttllmt.;tt' i&~0~ M;tii., iT~lOS i!=-4 A
                  26 El ~fr~ ' "- ElA 1-0 lf~F ~ 1.t} 6J :flDRAM ia 00 bJf 1f ' ~ i1 J" ff '    *
                  ~~~~,c0~~-·~~,~~§~8~-tf_·it~~~-
                  ~~~M*ffl~~.z.W~tt~M~,~;tl-t£:k.~~[&~Jfl
                  & .-fl * ~ ~ ~ ,c ~ ~ z :t J .@. , E! 10 5 1¥-4 A 16 a ~ R- M1¥- 4
                                                      1


                  fl 23 a Jl: , ~Ii mJt?! 1£ ~ l~· ~ ,c 0 g_j £ f 1 ~ ~~ 11it.z~ ~it        1


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      , .ti~ 11 mtt -0- ~ i':'ie. 1t z -0- m• tc. ~ 1: ~~ c ~ .x.. Jhdt : 113 2
     954 , 11 Jfl ;;;i- ~ i13- : KENNYW ' ~p f.{t*-    F.IT iG 4h £ ) ' ~ A 'P&
     ~a•~~A~~~~•~afi,*itt-k~k~~~~
     ,f • ;f~ ~ & ~ 111* ti , li\J $. ~ ,. ~DRAM la 00 z 7i ii;- , .ft ,1,tey- ..
     •*1. , -tttt z -t•#.iit- ( r~#C t•jiit- , 1t ix. i 931       ~          ~
       ~) ,~M#~~M•~~ta,~~~c«•~••8~
              *                                        *
       J!-ti tt tc. ~ t ~~ z USB fit~ ~ ( ~P Mt ~ 1.t 4h 4 #J ifp #A«.
                                                                        *'
       3 ?.IT iG 4h ifp ) , ~ ti~ 1i C 't • j i it- , l l 1. ;fJ $ ~ JI ffe. JG
       0~a~~*'JG-0-~•~c1:•~•zttM,~~c«•~
       •~•~iGffl~z•~~«a2~c~m•~am•~•
       4h 4 4h £ fo.AJLt.6 z#J £) &Goog 1e Drive~~~ 1; ~Ji!~ C11*
       '5Ef. : brh5476@gma i 1. com) ' {wi i tJ. ¥ • Z7i i!-~1i *'I@*'                            (~
                                                                                                       i\
                                                                                                             ( :




        ~-0-~z%•u~&§$*'@ffe.iG-0-~z·~M~-                                     0

                                                                                              ,:;~ e. (.'/

Ji_ .. £ 7)( ~ ~ 10 5 ~ 4 fa.J 28 E ~;J ;f.t llJp 't -0- ~ 1:E- ~ , ;}! 1:E- PM2 t~ ri ::
       r zDe Vi Ce -ii {1iq- f.@3!.1! ' ~p 7f( ~;J i! ;t ;J a {i § ¥ • ,ft. A~ 11 ,,     t>



                                                                        «
       z ~r:. ;t , -ti tt 11 m§ G t.1T ~ z ri ;to 911 -834291 it tt -t ~ ,. """
              *Ji_.
         ( ~p f.ft        4h 4 fo.~ ~t 17 z 4h £ ) .. Jf9p 't -0- ~ ~e.1f z -0- .m *
                          *
       "tc. ~ 't ~; ( ~p Nt Ji_ i;J. 4h 4 f~ ~ 18 z 4h J1o ) ' J!-ti ~~ ~ M~J ~
         'tf-1£-Google Drivet~~~}fl6Ji!~ ( 'l*it: brh5476@gmai
        1. com ) fa1T1tt#zC « • jiit- , ~ r ~ ~ ~, ~ ~-0- ~ P.IT1R. Jfl
        z rDRAM"t~tt!Jt¥!'1 J t•jiit- ( 1t~ r [DR25nmS ]
       Temporary designrules Periphery Rev.06J '~1t:
       V90B/O.Design/ Design Rule, r{#DR25nmS tttt!JtJl~) a
     ~~«•~•,•~~fy~~*C~m•~~#•••~
     c- 1- 2 5l 1t- .. Mt* 7' • 4h 4 4-bJ £ • it 22z iL\     *,  r {13-D i~        *
      f#) ,~~~~-z1i**$~i~JG-0-~~~~M&•
      0
         M~ ~ 105 ~ 7 fa.J ~ 8 fa.J M z ~ El , ..E 7)( ~'*-/Jo~~~ PIT±
                    r,
     .j~ zPM2 .g~ -¥- 't , ~ J.lt ~ ~ ~ z -t- .;R , ~-¥- 't ft -*.1! ~
     PI2 i.@.l.!~~ 1.t I -if. 'ttl i: ~ , if ~tttifff~~ttrff ~tlz
     F3 2 DRAM r tk tt JJt tN J {'JJ ~ §1 lftF t -0- ~ :it!-!- ± -t- ,f !{ :t~ §
                                         0




                                             6
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                           ~ ~ fl- ~ f.I ls II] 1\ 1- , ilAf DRAM-te1 nru ~ "ti tt        * -t -fffr , PI 2
                                                                                                          i!ii
                                                      *
                           ;,.:;.. lftr 't 0 al a~ 65*- @fl- ~ f.I "ti tt ::t- -t -fffr ~ Ji -*" , R~ J! ~JJ ~
                           M.zDRAM-ttttJJlJt1J ~-1-z 'Cel 1 J , r Array J & r

                            Cffl*tt~~~ftt$f·;~~--~)z~~
                           ~.£*ii~~~~A~0al••~~·'*~~~z~~A
                                                                                                   0
                                                                                                       ~-k~
                           Pe r i p he r y J ~ .k ~Jl JJ1] $-- it ' .£ 7](. ii ;pl ill ijt] ~ ~ft -f- {.R A ,$- it



                           ~0alW#A~~~~~*~~ff,~~1~*-~~~~ffl
                           a -il ~ A ~ A jfj 0 al z ;t,J _@_ , -t- >R .£ 7](. ii 3f- ~ ~ ~!t A jfj 0 al
                           z W*4 ( !:!p DR25nmS ti tt !JlJt J ) , J4. lftr 1: 0 61 F32 DRAM '
                                                                     1


                           ti tt !Ji J! J J x 1i.. 1;t tt , ~ff~ ~ ~~ 5)--tJ!s tll , {; J:. A ~ A~/~ al
                                       1


                           zDRAM"ti tt !Ji J! J z~ ;tit 1a , J:j ~ g, 1-- ~ i:k J,.:). ii foJ .x.. t i § .tit
                                                 1


                           z ~f!-f- ft A~ -:tel ~ru ~ -t- $--it ' t,I1 !l/J 1c. ~ "ti tt !Ji J! J t 'Ce 11 J
                                                                                               1


                           , r Arr ay J & 1 Per i ph er y J ~ ~~ 5)-- ' ~ x ~ ~ * k -1: 00
                            , i:;. 1! lf9p 1: 0 61 /Jo it 1c. ~ F32 DRAM"ti tt JJL J!1J 01 Z-          .£ 7](. ii -ii
o')               ':I
                                                                                                   0
•:>               l')

'.') ,;>   • ··~ l.J.

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,..               0
                           ~~~kiMJffiffe~z2~3 s01,~•~0al-tB~aa
                 .-.
                           r lX/~ X&@ ~ I C"ti tt :}Ji J!1J ~ ~ , §1 1t M ;J:f I Ce 11 J , 1
                           Ar ray J & ' Pe r i p her y J ;#'~ 1ir. , ~ lf~p 't 0 al z ~~"ti tt     +
                           !fl J!1J ;t ~ jl\-*" J:.. ' 3f- .~~, DR25nmS "ti tt /fl J!1J ' J:j J:. 'width J
                             ,
                                 1
                                    space J    *-     1-- it ' ill it '.fl ~ it ;}}t ~Jr :l:f & 1 ?.t ' ~ ~ff ~ 1!
                                                                                           1
                                                                                           }



                           Jfl J•J DR25nmS "ti tt !Ji ~1t~ 5)-- *-it z ii\-*" 1; wi x 1t T ~ k ,
                                                           1
                                                                                                          *
                              *                *-         **
                           ~ k }l1J ~ff~ jl\-*- x r ~ ii 11 , ~ 1t ~ ii 1.t J4. .£ 7](. ii ~
                                                                                    0



                                                                              *
                           tt , ~ ~o ·tt z ~ ii 1.t & PI 2 1- f.I BiJi ~ it IN 11:c. J4. .£ 7](. ~ -tt tt
                           Jfij 1: 1~ al F3 2 DRAM"ti tt /Ji }l1Jz *-it~ ~ lt & ~          * "*-tl        m , 1!.
                           ifrJ 1c. ;ix. Jfgp 't 0 al F3 2 DRAM"t~ tt #t J! 1J lftp 't 0 a] Jffi ~ "ti I 3t ,aJ
                                                                               O




                           r it !Ji ( mask t ape - out ) & • -f- *A A l- -t A.. Ji , 1* .£ 7](. ~
                           ~ 1~ DR25nmS ti tt #i ~1J ~ f.¥_ $-it -t ~9P 1: 0 ~ 11 , PI 2 MJ 1t
                           F32 DRAM"titt}flJl 1J B~' ~Pi!1flljU&l~~~;J!f-ti1i}k, i!kt•J
                           & ; 7t i&1 *° *£ ,         112 11 A B~ M1tJff "ti tt !fl J! 1] ~ ~ , x mls J4
                           1& it ffi1t ~ il! 1t r - f~ -¥1 :l fN. , itf-11& t-L 11 ti it ,JL Jl1J tfr ,m; ;ft f z
                            ~M,~a,~•&A..hJix.-*",1*•$1N1-~•m~h,
                                                                         7
                                                                                                         Exhibit 1
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     ~106 it--1 AM: ft-Device$&.J!.                   0




~'~~~~%§]~£~~--~,-~~~~~,-~£~~
     iffe ~ :fi m:t ~ C 't tit f.i Mfe , ~ ~ ~ ~ 0 §J. , ~ jf k ~ 0 ~ I§
     il:c fa] it-: t! t~ #Jr :ll:i rr 1%1 ~ ht~ tl:l % 1]f ' .it~ ill FM *- - rn- 7F z f-
     ~~       «- ~ ~ #      o    *~ ~ -     'g - - ~ , faJ ~ ~ ~ t ~ ~                 *~
     *tttt £ 7](.~rn-=t~ mz ri Jt0911-834291 r, 3Jt 1:1t~JtAti!1tt
     ~ .Ji tit , .it.t~ .-lf ik;Jti~ #Jr :Il:i   rr 1%1 ~ ~ 1%1 ~ 't ~ 106 it--2 A
     7 s,~~~~t~~*~~•z~*~,i~m*~~~
     ffl7FZ~~~fi~ffe~*'.IE~ffM*-~~~ffl7FZ~£                                                 0




     ·tiE-iktti~ #Jr :ll:i rpt%] ~ ~ 1%] ~ 'g ~ 106 it--2 A 7 8 14St 10~-tt
                  rr
      , ~ ~ i*3 #Jrrp I& i*3 # -=-~57JtZJf9P it% aJ Fabl 2A i.i ~ ~
     i.i I& ~ -ft :ft ~ st , lzsl Jf~t 't 0 aJ ti ~ ri ~ rf i1 , 4 lftt 't 0 aJ -3'.c-
                                                                 r, ,
                                                                                                         Q ,, ,

                                                                                            ,~,                   ,·:

     ~ t~ 1 ,f .ti~ ~ il ~ A. Fi ~ T ~tl tt PM2 i~             ~ st MJf9p t 0 §J       "' " ,; •. ,,
                                            n~
     A. t- t~ i@.io A ~ :k. , .tt t%1 ;tt; ~f tt £ 7]( ~ hit 1iL ~ 1t :it ~ -              * : ,     <:?• e <;,




                                                                                                 d / ,, <!,< ;( , { .

      0
          A**~~m%~£~~A~~~~~-%hit~~~~~
     5~}t- ~ ~ % §] z t- ~4-r J:A f} ~       0
                                                 £ 7](~,&. 1PJ ~~ ~p 1t..A. T...{~
     7F'~m•m*~M7F~£~-r™2~mia~;•~Cffl
     )~ -Jf Ji} i 16 5 1if- z #- ' jJ ~ ~ ~ 1]f ~ ~ ) 1i ,f ' ; • iiEI ~ ~i
          1


     t~ ~ 4h £ f.! I£~ 11ll A. .I. 4h ~i~Art t J:. ti , .it =t~ £ 7]( ~ ~ 1t z ri
     3!0911-834291 -t;tl~~ryj'iPM2 •01: t%]~-g;Jt*£7j(~-     0




     % hit 1:rr. , 111t JJtlf~P 1: 0 aJ ffie.* -=r £ 7t~=t~ mz ~0965- 102  r,
     303 Jt0,rt-tt~l .t., *-Jt~i@.-m~•zriJt0911-834291
     r, Jt +#l ' j&.ltr1 £7](~ t~ +#l r ti ' £ 7](~~~i1i~ J:.1f-
     ~-=r ~ • ; •~~ M X,
                             0




                                         &~• :tt
     • iiEI -t- >R J:t- .iL ~P ~ @J ~ 0 i: , ;
                                                          % §J £ /f A. R ~        ~-·*
                                                          iiEI ~~lo 5 it- 2 A 7 s 15
     B~25£-tti!8.WM0'.£:, .iExtl:lt~r,!Lt0911-834291 F1!Ltz-f
     ;tt; ~1%1 ~ 'g .fo ;ff o
-c , ,iij~ ~&. '*- ~ .tt. -g ~ 106 it- 2 A 8 8 J:A 1~ A.~ ~ -m M1PJ ~ ~ ,
     ~~~~~B~illm*-cffl~~£~~~'g~#,;•~$
     .3:. J/J ~ 10 6 it- 2 A 9 8 ~ ill Wt * ~ ?'1" 7F 4h J'o 1# '*- ~ ~ • 'g .fo
                                                  8
                                                                                     Exhibit 1
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                                    -tf £ 7)( ~ $--106 iJ=- 2 JJ 7 EJ 18 EJ .ti i§: tFaJ ~ 't t{iJ M&At~
                                        O




                                    'tmM~,~ili~*•T~#~,*~~~'t-~i~-~
                                    =-f *4 , -P3- {§ ~ i:k ft ~~ ~Jr :le. rlf 1%} ~ J}t. 1%} ~ 't ~t '.I: )it '.I: t !~ 1i i:k
                                    ft£. ti 1f z tll '#; ~ • ~ 106 iJ=-2 JJ 14 EJ 1 fit ;fz /~ , iL PIT ~ l:e. ls
                                 ~ff~'t·~~~™*A,JLffl~~£:x•~~*~~~
                                  ,1m*+m~~~~ff~it,b~~™*+m~~£                                                            0




                               A,~~~M~~0~,A~A~0~~ili%~(4~tt%&%
                                 ~ff~~m*+~m~) ·~&•~0~~ili%*C4~tt
                                 %&%*M~~m*+~ffl~) ·~*~~~'tffi~*•#
                                    tFaJ ~ }aj #Jr :rt rr tFaJ ~ 1k tFaJ ~ 1t tFaJ ~ 11 , mti 1k ti *- 1~ ~         0




                                    ~i" -tt Ji PIT ie, ii: {f
0           {)                                *
                               - , t.i ~ie, l= T PIT~! zti--tt :
                                ( - ) 1#i!ti-;Jt :
,;..
~}


.;", ,·:;        ~:,
                       0
                       ,,:
                       i)
                                   1 . tt % 1oJ ~ ~ $-- 106 iJ=- 2 JJ 14 EJ tffl ~ 't t~ P1 at z 1#  0
                                                                                                                *(
                                                                                                              C4 J{
                       ,.,
                                         2- 54) ; $--106 iJ=- 2 JJ 15 EJ , 106 ~6 JJ 9 EJ {rk ~ 't 1ffet 1fl
                       ;;)

                       ,.·.,

                                                  *
                                         af z1# (C4 J: 78-87 , A44 J: 87-91)                         0




                                   2 . ~Et%£ 7jc_ ~ $--106 ~ 2 }J 7 8 , 106 ~ 2 J3 14 8 tfa] ~ 't t~
                                         M at z 1#    *(    B4 J{ 4- 27 , 115 - 13 5) ; $--106 ~ 2 JJ 8 8 ,
                                         10 6 iJ=- 2 }J 15 8 tfk ~ 'g 1~ 1fl Bf Z 1# jzl£ & J!- jt 1! ~.t t~ ( B% J{
                                         92-107, 243-252 ) : $--106 iJ=-6 JJ9 att~'t{~tflsfz
                                         1#*(B~ J 92-107 , B 4 J 243-252 , A44 J{ 83-91)                                0




                                   3. it%~~~ $--106 ~ 2 JJ 14 8 1%] ~ 't t{iJ F1 af z 1#             0
                                                                                                                *(
                                                                                                                D 4
                                         J{ 5- 25) ; $--106 iJ=-2 JJ 15 8 , 106 ~6 JJ 15 EJ {rk ~ 't 1ffet
                                         1fl Bf z 1# Ml ( D4 J{ 41 -55 ' 115 - 12 5 )            0




                                   4. it %~fp ~ 0 §J z1\J!. .A.i:tl ~ ?tAt t;p $--106 ~3 JJ 14 8 tfaJ ~
                                       'it~ M atz~!Mi(A5 4 Jr 14-24 )                        0




                                   5 . M ~ii% ; t" i~ $--106 .i¥- 2 JJ 7 a tFaJ ~ 't t{iJ r.,, at z 1# it c
                                      E 4 J{ 5-12) ; $-- l 06 .+ 2 JJ 8 8 , 106 ~ 2 JJ 9 EJ ,
                                      106 .fJ=- 6 }j 15 8 ~ ~ 'g 1Jl 1fl B} Z 1# jzl£ ( E .,g.. J{ 73 - 75 )                0




                                   6. %1Jf'1\J!. .A. &p ~ ~~~ ~ ;1c 0 §J ii:~f.@.J!. ft~ If $--105 ~8 A
                                                                                   9
                                                                                                                  Exhibit 1
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       18 El , 10 5 ~ 9 JJ 1 El tfoJ ~ 'i t{Q M at z Ft.. Mi ( A1% J{ 13 2
       - 147 ) ; J-A "Wi A.~ ~ ~ 10 6 ~ 2 JJ 13 El ifft ~ 'g 1j 1ft at Z ti
       t~ ( A2~ J{ 186-187 )             0




  7. *A.E!p~~~1t~alik~-&David Alford Ashmore~ 105
       lJ=-9 JJ 1 s , 105 lJ=-12JJ 14 s tft'l~ 'i11iJ M a{fzF!MiCAl %
        Jl149-154 '316-321)              0




  8 . * A. E!p ~ ~ ~ 1t ~ al 'i 1"fl. 4i: 1::- ~~ ri A. ~ J . R . Tiet sort ~
       10 5 lJ=- 9 JJ 1 s tfoJ ~ 'i 11iJ M at z Ft.. Mi ( A1 % J{ 15 5 - 16 3 )        0




  9. "Wi A. !!p ~ ~ ~ 7t ~ a] .:L ;f.I flip Luci en t Jan ~ 105 lJ=-11 JJ 22
        El , 106 lJ=- 2 JJ 16 El 1'°1 ~ ¥ t{Q M a{f z ft Mi ( A1 % Jl 267 -27
       4 , A2%Ji331-336)             0




  10 At% 1tiJ ~ ~ ~ l 06 lJ=- 2 JJ 7 s J,A ti- A.~ ~ ;Ji ~ 1'°1 ~ 1g t~ M                   ('
                                                                                                 (,,
                                                                                                       f,
                                                                                            !)         ( ·



       zftMi ( Al 4 Ji 341-353) ; ~ 106 1¥--2 JJ 8 El J:A "Wi A.~~
       .ti ~ti~ 'i 1"fl. M z -WitaJ (Al 4 Ji 357-365)             0




                             m
  11. -W.t A. E!p ~9P 1: 1t} ~ *4- Ji!i-. I& .4- ~ j£ l.! i~ 1* -klllr ~ 106 1¥- 2 JJ 8
        El 1'°1 ~ ¥ t~ ri B{f z Ft 1lli ( A1 4 Ji 368 - 378 ) ; ~ 10 6 ~ 2 JJ
                       0




       8 El ti ~ 1g 1j 1ft a{f z ti-taJ ( A14 Ji 383- 385 )
                                                      J'
                                                                      0




                                i*
  12 . -wt A. E!p ~9P 1: 1t} ~ 'i ii1J~t j£ l.! Ft iE. ~ 106 1¥-- 2 JJ 8 a tfoJ
        ~ 1g 11iJ ri at z Ft Mi ( A1 4 Ji 387 - 393 ) ; ~ 10 6 1¥- 2 JJ 8 El
                 0




       ti ~ ¥ 1j 1"fl. a{f z -Wi ta] ( A14 Ji 396 -401 )      0




  13.-¥.tA.!!p ~5~'~1t~~ ~f1.tt,g.-~~t&.r1.i#1a ~~106 ~2 JJ
       7 El 1'°1 ~ 1g t{Q F"1 a{f z Ft Mi ( A2 % Ji l -7 )    0




  14 . ti- A. E!p ~ 5!~ ~ 1t ~ ~ ~ t1. !t ,g.- ~~ ~ -& tM 3C. i-i- ~ 1O6 iJ:- 2 JJ
       7 s tfoJ ~ 'i tiiJ r"i at z ft Mi ( A2 ,4 Ji 11 -19 )      0




  15. ti-A. E!p ~ 5' ~ 1t ~ ~ ~ ;f1. -!it%~~ .:L ;f1. flip *t :fJ ~ ~ 106 1¥-2
        JJ'7 a tft'l~ 'it1iJ M atzFtJ!(A2 % J:74-82)                  0



  16 . -Wi A. !!p ~ 5f ~ 1t ~ ~ &p at M F~ ~ i:JT ~~ ~£ l.! F! 1e. ~ ~ l O6 1¥--
       2 JJ 7 s , 106 1¥-2 JJ 13 EJ tfoJ ~ 'it1iJ M atzf!i!(A2 ~ Ji
       85-93 , 118-124); ~106 iJ:-2 JJ 13S, 106 ~5 A25El
       ti~ 'i 1.~ 1"fl. atz*1"aJ CA2~ Ji 182-187 , 383-387)                     0




                                             1 0
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                          17. -Wk A ~p ~ lit·~ f6 0- aJ PROVERt~ ~ it 'tf ..:r.. fj_ giJi tt ~ ~ ~ 106
                              if=- 2 A 7 8 1ft] ~ 1g 1~ M a} z Ft Mi ( A2 J©. Ji 95- 101 )                         0




                                                                        *
                          18 . -Wk A ~p ~ lf· I.ii #I ¥t f-4 J1i 1$)- Hl 1;;- 6J i: :;: -& ~ ,,t Fi ~ 106 if=-
                               2 A 7 8 1ft] ~ 1g t~ Peri a} z Ft Mi ( A2 J©. Ji 103- 10 7 )                   0




                                                                        *
                          19 . -rt A f!p ~ jt· ~; ~i fl- .ti J1i 153'" fll 1;;- aJ j,*1 ~ 3:. tt 1~ ~ 106 if=-2
                                A 13 8 "tft]-W '§1~ rcr,a}zFJft.Mi(A2 J©.108-111); ~106 if=-2
                                A 13 a .ti ~ ¥ 1n. ri at z tfl--taJ CA2 J©. Ji 113 - 116 )
                                                           0                                              0




                                                                                 * *
                          20 . -rt A E!p Jf~p it It} 6J ~ fj_ tl %- ..:r.. fj_ g;p ~ ~ 10 6 if=- 2 A 14 8
                               tftJ~¥1fiJMa}zFtMi(A2 J©.Jl230-241); ~106 if=-2 A 15
                                a .ti~ 1g 1Jl 1ft a} z t~ 161 CA2 J©. Ji 314 - 319 )         0




                          21 . -rk A.. ~P Jf9p it 1;;- aJ z ~ fj_ 1f % .:::.. .g~ ft.£ J.t it~ tt ~ 106 ~ 2 A
                               14 s tFaJ ~ 1g-tfiJ M a}zFJft1t(A2 % Jl248-264) : ~106 if=-2
                                A 15 E3 {ft~ 'g 1ft rcr, B;J-z ~i"ta] CA2J©. Ji 320- 326)                 0




,::,   ,,
                >.)
            ,., .::,
                       C.::.) 4F 1~ Mi-Wiit :
                          1. ~ 5~ ~ f6 0- aJ z 0- aJ ~ tr. t- 7ft ( A1J©. Ji 17 )                    0




                          2 . ~ 5, ~ it 0- aJ -mtt( 1 1* ~ &. 9'Ef ~ ffil-t Ji i;-- ~~ J 1 10" ( A1 % Ji

                                  j'
                              18-26)      0




                          3. ~ ~ ,c1;;-aJ I flJ ~~ ft +-mt J PIT~ 1 f! t& t-1n.z1* T J
                               (Al%Jl32-36)                0




                          4. ~ 5~ ~ ,c 1t} aJ z1-11 J..,J!1J ( Al % Ji 37-41)                    0




                          5. ~ 5if ~ ,If/t} aJ ~ 105 if=-4 A 20 E3 1t~ z 11 A.. n~ USB f-Jt          1:
                              Jt~tfi. CAlf©. Ji 54-56)         0




                                                                   1:
                          6 . t:t 5~ ~ ,c 0- aJ ft 1- M 5i n~ 1~ ]jJi ~ pq Ji, ~ t- ~ :f~ t& ~ fc.                 1:
                              i! PIT it ill JJtz ¥-t~ (Al% Ji 57)                 0




                          7 . it% J:. 7j( ~ ~ 105 if=-4 A 5 E3 foJ t:t j!Jt· ~ f6 0- aJ ~ tl:l z ~ -
                              tj:Jtt-'~*-CAl ~Ji73-74)                      0




                          8 . it%.£ 7]( ~ § 10 5 if=- 3 A 20 E3 _f_ 4 A 26 8 -1±- ~ 5~ ~ :JC It} 6]
                              z tB lb & ri ~ J J-t ji i-i t- *4 CA1J©. Ji 78 - 81 )
                                                       1                                             0




                          9. ~%1*~~mm*-M**~~1:az~~-~~~c
                               Alf©.Jl83-97)       0




                                                                        1 1
                                                                                                                  Exhibit 1
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 1o.;ti%17)(.~~ ~?ft'~ 7'6 1.t} ~ 1it 103 if-2 J:J 26 El 11-11-z I lft
      1fti it-- j~ ~ 1i fl & 9°if g Jit A. 1;- j~ J ~ * CAl J®.. Ji 104-120)         0




                               *'
 11 . ~i % J:. 7]( .i.i 1±- f;- j~ Jt 0 ~ 1:1- ~ ;!tJ} M ~ ~ 1f 1,11 i*C~G it ( A1
      J®..Ji 122-126)    0




 12 . ;ti% 1 7)(. ~ iit 1o5 if-4 J:J 26 El faJ ~ lt ~ 7'6 0 ~ ~ tl:l z WF ~
      5FaJi (Al J®.. Ji 127-131)      0




 13. ~@ ~ 7'6 -0- aJ ff aJi :ti% ..:E. 7)(.~ .t-Y- ~ .iE.1; -Ji ik Ffr Jf:it1f z 1:~
      titfzffl~ (AlJ®..Jil86-198, A3J®..Ji325-492)                          0




 14. ~@ ~ 7'6-0- aJ a~ 5*' ~ 3'c/.t} 611it 103 if-2 J:J 28 El 1fir z
      MTI/MMT Design Engineering Services Ag r eementl 155(Al
      ]®.. Ji 206- 216) ' ~ ~ ~ 7t 1.t} 61 ~ #Jr ,7]1111{ ~ 7t ,0- a] }it 100 ip.
      9 J:J 2 El 1}1rzMSA/MTI Front-end Manufacturing
      Supply Agreement~* (Al%Jf217-231 ) '#.Jy/JaJ,t~7'6
      -0-61~~5!~~7'6-0-611*103 ip-2 J:J 28El 1flfzFoundry                               ;,                      .
                                                                                            { :, c::, f':) ,;_., t



      Agreement~* (A1J®..Jf233-252)
                                                                   *-
                                                               0
                                                                                            "



                                                                        *
                                                                                            f .'!




 15 . ~ @ ~ 7'6 -0- §J ft 1it :ti% 1 7)(. ~ Pfr ffl Nt              Pfr iF "te. ~ it ~~     f, • "' "



      z1tt1r:tll.%(A3 J®..Ji511-528)             0




 16 . ~It% 1 7)(. ii , 1'1" Jt ~ z #- 1..1i ~ ;tlt1* ~ A...tl 1i 'i *-4         *( A3
      J®..Jf536-537)      0




 17. ik~.gr 1~ ~ NJ 105 if:-1 oJ:J s s 1~ =t 1E- ~ 11; 10514003270 !Jt
       &t ffr ltft4Eitl:tll. % ( A3J®.. Ji 543-544)        0




 18. ik~.g~ "t~ ~ NJ 106 if-2 J:J 23 El 1~ 'i 1.li ~ 11; 10614505100 !t
       &, FlT ltft4Ef~:ta % (A3% Jf 570-573)           0




 19 .1i % 1 7)(. ~ rfr m1; ~ ,;1_ ~ zit ~ m- ~ cA3 4 Jf 57 6 -678)                   0




                                                                                *
 20 . fa.& i1t .g~ .tl 'i ~ tl 4?:- l 1t FIT it Mt z lf9p 1: -0- aJ 'f lt ~ %- ~ §J
      1k. *;Ji>fiiq1;-1t ~±~ ~7"4~;.t..(A3 ~ Jr 682- 725)                   0




 21. :ti%_£ 7](.~1! mLINEi@. *-'kttz!f tt jii! (A3 % Jt 790-91
      2)   0




  22. ~5t~·~7'6 1.t}aJ1*105 if-4 J:J 198 ~i!~;tlt%1iiJJt~ziilli3C.
       ( A2J®.. 1t 191-192)     0




                                           1 2
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                          23.~5!?A;'c~aJ~l03 .if=-2 A24S~1.t%1i>J~~P}Tft,IZ 1
                             1P}1$. % i.:{J ~{i $ & 9'J ~ 5!t A_% t-0 J ~4'-(A2 4 Ji 193-200
                               '210-218 )            0




                          24. ~~,A Jt~ aJ PlT W#z~.t%1i>J~~A.l= W*4-+~-*- ( A24
                              Ji 203)     0




                          25. ~la~ aJ ~i.t%1aJ"~~~~z$1$.%i~ •tt4'-(A2 4 ~20
                              4-206)      0




                          26 . it-~%-~~ tfo] ~ '°1 #Jr :It rr 1fo] ~ 1k l 06 if=- 2 Ji 7 S ~ it .:it#- Jf9p         «
                               ~ aJ £ 7)( ~ ~ /t} '.£ Ji 1ft JJi):i tll % ( E4 Ji 16- 17 )             0




                          27. f1t :& - .z.fo ;jf *°if- ( Al 4 Ji 176-178 z l ) , fft :& .=..z;ft
                                         *°                                                           *°
                              #- .fo ;jf if ( F14 ~ 31 - 3 4 ) , Nt :& -=- z .:it #- .fo ;tip iffe ( F1
      ·")
                              4 Ji 4 7 -49 ) , Nt :& mi z.:Jt #- ;}a ;tf *° if ( F1 4 Ji 24- 26) ,
 ,, ""
()




                              fft :& .li. z.tt #- .fo ;tip*° if ( F2 4 Ji 30-33 ) , fH :& 7' z;}o ;tf
                              *°ii(E4Ji67-68) ·, fN:&--c.z.fo;jf*°iffe(C4Ji96-99),
                              f1t :& /\._z;Jt #- .fo ;jip *°if (F4 4 Ji 26-29 ) , Nt :& )Lz;Jt #-
                               .fa ;jf *°if (F3 4 Ji 23-27 ) , Nt :& + z.ft #- .fo ;jf *°iffe (F3
.,
"
{) '~· ( I   .J (,>
                               % Ji 28-31 )          0

•:)
.,
                          28 . .fo {f 4bJ a°o .~, ~ (A4 % Ji 53- 75)             0




                          29. f{;j *-. - 1 ~.j :& + z.fo {If 4bJ a°o         0




                      .=.., ft~-*-*.z.*1~:
                       C-)~~zk~•~,ffi~~~fiA~~*~z*~~~•~
                              N~A-,~~M-~ft~=--~...tz*~M*~**'~
                              -!t- ,'t- ~ A;Ji A~~ *1t APIT 1f ~ , Jl J ~ it-~ PlT jj z *i l'J 1 :tt
                                                                                     1


                                ,~AA~~$A.,~~~~~-!t-~.z.A-~$A.~•~
                               ~ Pf ' i!:l:i ~ l: ~ it- Ff{, 3 0 if=- ...t   + i 3416 !ct J J1?fcf 1~ ,i. ~
                                                                                             1                  0
                                                                                                                    4'-
                                            M~ ~ ~ ~ z ~ tt, ~ mAi A~
                               ~ ~ % ~ ~ ~, £ ~ ~
                               ~aJ~~~~~AJt~~,ft;fi~~AJt~§Jffl~ffl,~
                               ~•~w~Aiz~*,tt•,••,a~zj-~,u~
                               •~~~«•~•~~-#~~~~Jt~aJz•~~-~
                               ~z«a~aa~,;j~~~•*•3•J1~,1~M
                                                                        1 3
                                                                                                           Exhibit 1
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     ~Az~~,~l*•~@*J2*ffl~Az*•~m                                                                                         0




     ,~z,~~~~0~A~•«•~•zffl~A'@~~
     }61} ~ J! JAtJ~ ~ 1:ztjii!:t.lf. t!i ~ A. ( ~ i!- i 966 1! i l
                      1


                        j'      «
     :i:Ji !Ji~ *- ~R ) , ti~ ~ ~ ~ 0 ~ , @
     -~-~*~z~~··,~~~ili%~o~~-«1}~
                                                                                       ~ ~ 0 ~ :rJG _I:_ r~
                                                                                                              1




     Jj ~ 10 6            +2 ~ 23 E ;#l t±l r -Jf1 • %1Jf Ml J , .t~ {i ~! %£ 7](
     •$•«1}~~--M,~~-«0~m~*~ffl@~~
     jfj 0 ~ z *. t~ f& ' 1. ltsJ lfip « 0 ~ ~_;}f J:_ P~ «. tiiffe ZPIT
                                                    8


     ~A.&·6~A,~~rM·%~*J·~-A~;#lili%
     1t    0




c~)•~•*~*•~r&*ffl~•*ArW~J ,~&Wmk
   ~~-~wa,~~-~--4AMaz-&,*«~t                                                                                                           t.'.·,
                                                                                                                                       0
                                                                                                                                                f
                                                                                                                                                    f-



     z~1l WtR.-fr A , ~t~t4 =f 1R.J!t a;t:iLt•J ~z1i ~ 11 -Jt 1Jit                                        0

                                                                                                                                    c.. e (.")

     i 1ONF-· i 6 :i:Ji PIT ~ A z ~ • ~i if ' .t~ tJ. 1: -f- , • •ri ' jfj ~                                                 ::
                                                                                                                             ~·· c, i:;, i;~ '·.

     ~~~~-z~~ffl-4'm~«B£ffz~•,«*~                                                                                            n

                                                                                      *.t j: ~ - !!. t~ 1t ;yJG (, '"""
                                                                                                                             1'.•




     iffe ® qf Jr ft J!t A. ' J!. ~ ~ vJ" ~ ttl ' ~ ff
     ~ffl~$z#tt,~•~•~•*~*•~•*ffl~Wz
      -g_ ~                                                     d: -l-:1.. -I: ->-r. fr.'< Im'" -r-* ~ c.!t.. _,, /.- -lli
                     a1l _=:!:.. ~ T:al .:ir- h:-. -1·~ tfo ..t.a
      ~ iil \i   '   jt J ./J'--1.x. I "J .~ ~    1-l '1"-1-<J" ~.x.. 1~ /)'j ii~ ~ ~ ~ ,..(> .!P;J~ ""-1T ~ '

     ~~ffl~A~*W~*•~•a~~ztt~,~~*~~
     PIT ~ A r Wtfl ag l- ;I •ti ~ -M~ 1tt. •ti 1! mJ ( ex c 1us iv e use
     of information) &~jf&;z~'51t1Jt1.t (monopoly value)
       ,~J~M_i__I:_~~z~~ ~%M~~,£*•i~~                               0




      ~A~0~zR*W+~•t0~~-~,~~~~~~
     ~Ajfj0~ffl~z*•~f&'A~¥*•~-~M~M~
     If9P 1: 1} ~ Mj 1fDRAMA £ fir Ji& ! J z M~ ' mIf9p 1: 0 ~ r~ 1f 1c:1


     ~z~*'ft~,-a,ttt,A~~8#~~~~~z
      i•0~:x$~~*-~~MTft~*~«•~•,~a
     T~-~~lt%T,1&~-~~-~~~,-~~~~
     ~ 1#lf9P 1: 0 ~ F32 DRAM-ti tt /JlY! J p\:J z r Ce 11 J ' r Array      1


      J   & rPeriphery                        J    ~*-it, ~l:.!&_~sz:A.LUCIENT JAN 7ft
                                                                1 4
                                                                                                              Exhibit 1
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                              106 if:- 2 J1 16 E1 t~ ~ 'i "tfi] ro, B}t1t ~ aA kt , iii!% A* ~4~
                              105 if:-7 J1 ~8 J1 Mz~ E1 , -t->i<.i;B~.tiDevice{wr,1:r•
                              zit% .:£7j(~ , t,l1#1&ttJtJN ~tiM;-~~tt- , it%A *-"--
                              ~ - ~ - aA ~~%.:£ *~ffl#~ z W~~ ~ ~~~*~%
                              tlf A~ jf ~ :1t 0 61 lp{.if CnM ~ i1:t:.w.i!i , 1:t t~ ~ 'i ~ 106 if:-2
                              A 7 E1 ~ lf9p t 0 61 PM2 t~ ri -tt 't ~tl , it% A k w% it  *          *o
                              %.:£*"'M~~8~~·ffl#~z.%~A.~~~:1t06J
                              W# ~~«*t1taA) 0 ~~,~%~~~,1*~~~
                                        1



                              ~t~•~•lp{.*~n•••ffl~z«•~•a~*,g
                              ~Rk~*fflA.~~z.ffl,~&~%A*~~~~tM•
                              Rk-t-~#~~~%.:£*~**•~•t06Jffl~~~~
                              fl JF3 2 DRAMtt tt JJt J! J1JJ ~ z. ;f; Ji. • ·ft jp , iE. ~ ~ i* it%
                               1                       1                                        0

()       e-.,

                              ~~~,1*~'A*~~•~~$%~A.~~A:1t06J
•> I':
                  I)

                D b
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                              t 1:fui. , -1±- *-- ~i i1!!. i& 1t m%-tJF A~~~ :1t 0 61 #-t~ • z. ;f;
                                1


                              ~     0



                       ( -=- ) lJ * #- ;f~ $ ik i l 31r} z. 4 1 t" ?Jr ti : 1 * A. z.1\ * A. .sx. gi
                                                              8


                              ~A.W~~nz.*~'~&hA~kffAJ ,ffl.E&h
                              A~kffA,~*~~ttoc,ffAAE~·~h, '~~
                              J£~~kz~•,~rtt•~~~k~*ffA,~~~
                              ~ttz.ffA~~ *#~%•t06J•~ili~%M~~,
                                                   0




                              .:£*~'-fX.•~~~-~ffl.~z.--~~-~*'~~
                              t,1' ft W*4 , iE. * iF tt 1~ 6J fl -l!itl 1t ffl USB PORT , 1~1f *° t ~
                              *~~U06JR#~~,ffl~t1taAU3A.~-~~~~~
                              ff~i-~z.-•W#*~M;--t06J,A.t06J~fi
                              ~3.A.f~~-M~-z.~~--,~~~lp{.~~fuA.*
                              ~~~~A~~~ 0 **~~~~~•~~*~#~'*
                              JJl 1± lf~ t 0 61 PI 2 M0 '.i: R , # ~ 1! %.:£ 7j( ~ , 1aJ ~ ~ gi
                              %~A.~~~:1t06lffl~~z.~~t-~•&~*'A~
                              %1*•'~~~~•t06J~••,~#-~~~m~
                              •• fil,~Ji.~%.t061Rk.~%~~~,.:£*"'
                                                                  1 5
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         ~       *~ 1}1r {/iJi( z~1t ~ i~ • , 3i -Jr
                                    1


         ~~*'*~-~~~~~~k~$fuA*~~~Zff~(
                                                                            ~t•     ~~ ti 1f 1J1I        tt , ifiJ
         -~~~,4~%.~0~M~tt~z.ffl,~~M~H
         Jf 1ft. j- .i ~ .wt ) , ti ~Ji% lf9P 1: 0 aJ PlT A!~ M , i%1 li! -ti~                                    0




                 *
-=- , f}T ~P., 1'* :
 (-)~%~~~~~1±A~~l&~ffl&ffi$%~A~-~~0
           ~ z;t Jdii , ;f~1f %tlf AA• A ~0 aJ * •t!ib~ , i&.%1Jf A
                       1


           t~A~0al*~-~~,Mtt•,~A~~,Mtt~*
          -~~'~ITTJ-~~-~OOITTJ~ffl~*•~~,~~••
                     *
          t~ ~ i 13 fil z 2 i 1 JJii z t: ~ -t£ ft ie. r& 1t mmJ 1e. ~  *                                         *
          i 13 fil z 1 i 1 Jji i 2 #J: ' i 3 #k z #- -1tAft ~Ji% 1iiJ ~ ~ J:)_      O




          •-~;t,~4AiM~ff,.-~-#- X%~RmA                                              0
                                                                                                                                       (,
                                                                                                                                            i;,
                                                                                                                                                  f'



                                '*
         3..1.::. ~ 4t giji ~ 10 6 4:- 2 A 13 8 1~ 1ft. B} , *- iF ~Ji% 1iiI ~ ~
         i MJ fr A 1J' ~t ~e. ,M ik i 3s9 1* z ~ ti~ 1t fu A 1: h~ jG it- i i :'(•: t>                                                 t, ( • L
                                                                                                                                                  .
         1.. ;fl $ #- -Mft ' •Ht tfi: A fi {e. ~ ~ 106 4:- 2 Jj 13 8 1Jl 1ft B} ~.i: ;l,i.                                    0
                                                                                                                              0

                                                                                                                              ~·


         ~%~~~~~~-%~At~A~0aJMM, r-~J
         ~1-Jti 0 a) z 'th~jt>i!                    0




 (~)~%1~~~~-t£A~~I&~ffl&ffi$%~AA•A~0
      aJ z::f1 Jz1 , ti 1§1 "i: ~&iA ~ iE..~*~1t *                                  •t~~ ,
                                                                                 M at1x
     $%~AA•~~0aJz*ffMA-C'~~·-~-~~
     mJ 1l ffl , i% 5kfu ' 1! JP., ,f- •           t* ~. *
                                                     i 131'* z 2 i 1 Jj z ~ ~
     -t£ A fi !e. I& 1l ffl mJ Je, M i l 31l z 1 i 1 JJii i 1 #J: , * 11
                                                                 1


     C ik i 91 fii i 1 Jj z ~ 1§1 iA I~ z ~ ik 1x $ fu A z f-1'F ~t
          -lvt
          .:;t  =
         lf1£ ~ ~F- ~--
         f_j;_
                     fr!<'~ ~ ..:r::..
                        1a  ~   -r '
                                0             tt
                                       7]( ~ .$
                                        ,1.        /;h    -cA. 11"      -t:sr.
                                                                        X
                                                 JfL - -1e. ,f,1 ' JA - -r~
                                                          /J~-
                                                                            .:iL-   *8
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                                                                                                    ,.:i:.. L -



     B} ~ JP., L Mtt #- ,t ' A ~ 1i Mt% JP., ' it* -Jf J i 55{ii 11l k.                 1   *
           ',1;t-"i:t®'J-A,f-~;f~J&;ikil3filz2 i1 :i:Jiiz#-                                          0
                                                                                                          %1JFA
          t~A~0aJ,A•A~0aJ'*•A~%i~~M~~~
         -Jf1Jik i 31 7 fil Z i% ikfu ~ fjJ- J:. ~o ~ .:r.. ?,fj ;f~ • #- ' :1f Jik i 3 18      1



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                                                                                                         Exhibit 1
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                                                              *a
                             1ri z 1 z )lj)~ ;f: 11ffl 't )j~ ~ z 1-tt. A f~ ~          *,
                                                                                    -Jf1Jik i 342 11i
                             i 1 :rj z ~t.1t ' -Jf1Jik i 359 {i} Z ~ ii }pl 1-f 1~ A 1[ • f.;c, it Jl
                             1-~; ~ :{f     *~ ,   ,tt*-f f~~ **102 .+1 A 31 a tw1r/~~
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                             i 13 +-* z 1 .f. 13 +-* z 4 11i 5( , .:rr. ,t-- J.t re ;(f. ~ -Jt1JIk i
                             31 7 1ri ' i 318 1ri Z 1 ' i 318 1ri Z 2 ' i 342 {ri ' j
                                        *
                             359 1i JJt ~ lt ~ ,f- -f f~ ~ 1if- ti* PIT .:f Jt. , ~ -r r;_ Jig -tr (
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                             .n:. ~fc. is 4 i 2 -t i 14;:x_ 1ttt tt • nm 1~ 5( :t ,iw,) ,           '*-
                             Jt.~i~*-f~~*z~~*5C.'~iMM**5C.z~m
                             *'*~m*~~•~*z~fl~,~-~m*-f~~*o
                             x~%.£*•~~~t~~~*••tt*t*H~z#*
                             •~,~~~~•~ff~~~*-~**~fy~%A•k
                             M~~~*·~-~M~~~,x&*~•~•~~t,
                                               *
                             tt 1«- t'.i A 1if- ti i l 41ri j 1 :rJt JJt ;t ' :¥JG it% .£ 7}(.. PIT jffe *
,. (• ... (J 0
                                        *
                             -ff~~ i 13 {ii z 2 i 1 J:j z * ' ;~ ff ~ St f;t- .j+-]f1j                    0




                 (~)~%~-kt~;(f.*~~~~ffl&.$%-~A~~~~~
                                                                             *
                     ~ z ;f;rJ ~ , ~ *a :ft% .£ 7j(_ • .PIT -i~ z ,f- -f t~ ~ r;_ ~ .iE. -Ji                  *
\>
,,
                                                                   *
                     PIT lpl tf ' 17J 1! ffl z ' 1~ Je, -f ~ ~ ik i 131ri z 2 i 1 :rj z
                                                                         *
                     t ~ ;(f. * ~i i~ i& 1i m , mJ 1e. ~ i 131i z 1 i 1 :rJt i 4 #x 1


                             z.fp.*to
                 (~)~%mt~~z~~Afy~%~~~,.£*•'A**'
                    ~ :¥Jt. -fr -t ~ , 1e. * -t t~ ~ ,t-- i 13+i z 2 i 1 lJt z * , tt 1«-
                    *-t f~ ~ ik i 13{i} z 4 R~ -r~ Jl ~ , tt f&. % ~ti 'it ~ ~ ff ~ ik
                    i l 3{ri -Z..2 i 1 :rjt z-fri ~-Jf1 °
                 tm '   i.l~t :
                        ~%~~~~~#-MlplffzA«•~•aB~*•#,~&
                        ~%£~~~~~ffl~~zc-t-~•an~*f#,~*
                        -Jf Ji'!- i 381ii z l 1it 1 Jjt R~ $~ Jl ~ , w % i.l ~:t f1t *- . : . , Mt *-
                         1                                                                 O




                        ~ P.ti~Ah Jf 4h a°a fa." !t 3 , 6 , Mt         -tz ~ P.,J. 4h 4 4h a°a '~" !t 16 , Mt -tz
                        7' P.' 4h 4 4h u°a fa." !Cf. 20 PIT ~ 4h u°a ' 1~ f&. % £ 7](. PIT* 1~ Je, #- ?Jr
                        ffl z 4h ; Ji F1t -tz 7' P.'Ah 1*- 4h u°a fa". ~t 36 , f1t -tz·--l:: PIT iF 4h u°a , 1~
                                                                   1 7
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          ~t % 1.iT ~~fly 1f 1~ ~e. ff- fly ffl ~ 4h , tt 1-K -Jf Ji!- i 381'} i 2 J~ f.Jl
                                                                                       1


          ~ ' '§ % ii. ~t O
:fr_ '            *
          1:t{ -Jf1 1)f "t~ it- i 25111} 1Jt 1JJi tk ~ %- t)f                    0




          il:G Ji
i:   j' *     tf !~ -Ji"    *   ~fe,
                                                     106         .ff-          8            A                8                  8
                                                                 tt~'i               ~.itJL.1t

                                                     106         .ff-      8                   A             31                 8
                                                                 :f tc. 'g           ~.it-*          '*~t
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 .fo 4lf1 *
          .It,( 4bJ f4i. .fo 41/14bJ a"'o ~ ~pj
 if- t~ ~ .fa 41/14bJ
              £.r,~
 A-1          1             £ 7)( iZ 1l m:t..     *ie. ~ 1'.i     ;.f.viJt JJal 1* £ 7]( iZ .{£. ~ WI ~ :1t 0- 6J 1:1:-. JIJJ
                            ••                                    ~fflm:t..«•           0




 flit$:_:-.
 :fk1tn~r.., : 106 ~2 A 7 El
 tJlAt ~ fir : :l 'F ifr 1*J ~ ~ ;fa ~ ~ 18 ~ &.-tl'I ii! .i! :t.. ht fir ~
 ;fkfr A. : £ 7)(iZ
 :fk4t1~-it: :lJ~:l'P~::.Oiid~106 ~&~4t:¥-J372 Jbt41:t~

 .fo4tp   * ~#JJ.4i. .fa 4111 #7 £ AH~                     ttit 1itt
 ijd~~        .fo 4lf14bJ
              J',d'8~

 F-1          2             ~ te. ~ 't JJI:\\ ( ~ i[itf,   1:l    1. t'!J ~ loj it~{k:t..Wf ~ f-te.~ .JJal pq :t..
                                                                   r,
                                                                   0
                                                                                                                  Exhibit 1
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                       ( #! J:. 1( )

                                                   t;t)                                     'tl>i:t#.c.if;ii~ .i.~4h 44h £f'~it48~
                                                                                            .tt.&t~\106030-25-10, El it-T •
                                                                                        2 . ti A. f-i.1e. 'ii~ 106 1¥- 2 ,EJ 13 El tt 4J!Ai
                                                                                                                       *
                                                                                             , ti iii r r•J ~1ill. r PJJ" & z ~ l>i:t tc. tt
                                                                                            ,l~A@A;\:.~51.z.f-'l~i&':
                                                                                        0)106030-25-10\106030-25-10-FUJ IT
                                                                                          SU-NW9XT682R86A,Pl\DocumentsandS
                                                                                          et tings\ e 1a i ne \!iii\ 20nm
                                                                                        (%)106030~25-10\106030-25-10-FUJ !TS
                                                                                          U-NW9XT682R86A,Pl\Documents and
                                                                                          Settings\ e 1a i ne \!iii \Micron
                                                                                        CID106030-25-10\106030-25-10-FUJ ITS
                                                                                          U-NW9XT682R86A, P2




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                         [1ft   *--=-
                        ,¥JL,rr R~ M : 106 1¥-2 fa.l 7 El
0 -~) {) -a;., ()
:;
                        -¥JL1thtPIJ": ,ft,fi"Jp!J..~3t.·~1*Jli..~l $1201 itll;!i..z.9 &,l:Bi!i!.z.4M
                        1: ¥71At A. : ..£ 7j(_ ~
                        :$Ji. fr 1~ ~, : ,f j,I~ ,f 'f ii!!,~   * fJt.106 1¥- J.i ~it~ 72 Wt.it 't
                                                                                       ~;3              $

                        ;Jo ilf   * ll~Ah 4 ;Jo 41114h J'o f#     ~
                        if- ttidlt      4bJ £ t~



                        D-1             3                                       1i..     1 . tP.J ~ltd~~ 1!JHUt it~ .z. ilt l>i:t ic. if-
                                                                                             4i ~-tf. ~ 4h _$4bJ a'1Af/iiJX.48~_:$r Zf ~
                                                                                              \106030-25-06\ El tf;T        0




                                                                                             *
                                                                                         2. A.ft 1~ 'ii~ l 06 1¥-2 ,EJ 13 El tJ!J ~ 1'
                                                                                             t6J r.,, at#,: 4Jt1! , ti ii; T 111:+t ff- ,I~¥..
                                                                                             ~¥..lt~~.z.f-'l~i&':
                                                                                         G)4G3D Bin-z v(l).s WAT paramcorre
                                                                                            1at ion. xl s
                                                                                         (Z)Fabll_twr_materials_for_25nm_tas
                                                                                            k_force_v6.pptx
                                                                                         CIDWAT param check for 1RF746 3E.

                                                                                       19
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(~J:..Jt)

                                                                        WWC1 split.xis

 D-2            4             &lj}- )i_t ,i;J\'i              1100    ~~%J••~••~tt~zt*~•«
                                                                      ~4~~Jf 4bJ £ f:$J~48P.i!JP!~ \ 10603
                                                                      0-25-07\ El if-T        0




 D-3            5             &ff.A' ;;_t~                    11@     ~~%J••~••~tt~zt*~•«
                                                                      ~4~4bJ Jf 4bJ £fo.,~48&ljpt~ \ 10603
                                                                      0-25-08\ El i!T         0




 D-4            6             Ace dHc. ~ ilU~ (
                              t )/,Si,tt.)
                                                        *     UK      1. tJ!J ~»ii.ta{iUf •ta1!f14bJ z         t*ic.it-
                                                                         ;pl~441t,xAbJ ,If~ J'o·Mii ~481'.iljj- i.t~
                                                                         \ 106030-25-09\ e1 ii:T          0




                                                                      2. tit: A..f.t~ iE. l iY:'-106 4-2 JI 13 13 tf.l -W 'i
                                                                         t{;J M a~ ~fdJUi • t~ ~ T 71J El ii T flj--#
                                                                         :Iii~#-~ iY:'-k &i k:1t0-aJ z,f #.~ ~

                                                                         \106030-25-09\106030-25-09-WD-W
                                                                        XL1A61D6393-250GB, P2\USB\YFA
                                                                        POOL\
                                                                                                                                  c; Q f:



 D-5            7             .lit 1/ii ~H~ t"                1*                                                               {: C>f"/"-'




 D-6            8             ;(f 4~ ( 7j( ~ itUt #Jr#        1*
                              11-fr«t ~0180040015
                              5741       t   f'%,: J:..7j(~
                              )




 fl.t $:. 119
 :t}t.,ff B1j- M : 106 Sf-2 JI 7 8
 :t}t.,ff b\PIT :    *'*i ,fr %1l:. ~ :llt El #-~428 , 430 ~l .i. 9;Jt r!liY:'- .£ 7t
                                                                                 p;i
                     ~ 100 A.. :t- ~   tr 1)-
 1: :#t.fr A.. : .I.. 7j( ~
 :tJt.4t*At: ±~±'fit!?.::?°i*ffc.106 4-&'.*4.!/l~1!D72 ~4t'#."~

 4011!1* ~4bJ}f 4a ?!fl 4bJ .?a %, ~jlj                       .tUl' 11-U:.
 it-1,~         ~J'ofhfi
                M.

                                                                     2 0
                                                                                                                  Exhibit 1
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                    (~J:.JO

                    C-1-1        9                 .£7)(~j"iJ'4                      3.,t..     ti 1-.. fi. 1e l
                                                                                                          , LUCIENT JAN 1/:-t?-J -g tfiJ*
                      .i.                                                                       M BH!~JUl • ttC-1-2 .sc. 1ii=- ui :1U1 :
                    C-1-3                                                                      Peripheral Design Rules for DR25nm
                                                                                                ) 1t~~~:it0~z.f#.#:!£'.

                    C-2          10               USB                                111§1
                                                                                                ~~~••••m••~•~•••*
                                                                                                ti~• fta.t-Uij iii'+•




                     flit*-Ji
                    ~frBtM : 106 ~2 A7 13
                    ~ fr nt ,Sfj- :   * 1W rp #Jr rp I& 1W # .=.. ~ 57!It.&.~ :.t~ i! it -Z. nt ,Sfj- ( .£ 71( :£Z 1$1.
I'., '.'){)   0 0                                 * +
                                    1/:-Jjij ~ JJt10- ;If f!l 0 ~ Fab 12A i .::.-hiit ~ .z.£ J'o f.fil.J.!. ~ 0 '.i'. )
                    1:~fr A : .£7}(~
                                                                     *
                    :fJtAt 1«At : :I: JJJ i: 'F !tl!. ~ f,t 106 ~ J.f. ~ 41 ~ i 375 WcAt ~ ~

                    ,:to;fljl*   JI\( ~bi Jlfi.   .fo ;flj! ~bi £ ,t ~jlj.           itit 1'1titt
   ....       ,:,
                    ifr. t~~     #JJ'oMu
                                 ~


                    A-1          11               PM2 fa.JI. ~Ali, if<.              1~

                    A- 2-1       12                .SC.1ij:- j- il'4                 3;.t..                             *
                                                                                                1 . ti .A. fi. 1e l ~MJ!l 1' i~ MaHA- ~Jut ,
                    A-2-2                                                                           tll, -1f t wt !;; :it 0 ~ 5{, 1it-
                                                                                                                                   0




                    A-2-3                                                                       2 . ti .A.LUC TENT JAN 11:-1 06 ~ 2 A 1613
                                                                                                    ~ ~ 'itliJ Mat • :t~~!A-2-2 .5C. 1it-{i •
                                                                                                    ti~U.5C.1it- ~ ,Sfi"~"*-ii~C-1 - 2 :x:.1ij:-
                                                                                                    ffl f<.$-tt;tr ,!:§ M.z.nt •




                     A-3         13                UMC.A.:f WHit<.                   l;.t..

                     A-4         14                ..I.. 7"}(. :£Z   *te. *-         l.i.f--    ti: A.~~1-~• · ••t ~ ~:it~~
                                                                                                z,f ~#::&: •


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